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                                     UNITED STATES DISTRICT COURT
                                       DISTRICT OF CONNECTICUT


             ROMAG FASTENERS, INC.,
                   Plaintiff,                                    Civil No. 3:10cv1827 OBA)
                   v.
             FOSSIL, INC., et al.,
                   Defendants.

    I
                                                  JURY VERDICT

    IA.          TRADEMARK LIABILITY

                 1.        Trademark Infringement

   Has Romag proved by a preponderance of the evidence that Defendants have infringed
,/ upon its federally registered mark ROMAG?
    ;    i



    /
    /\
         Fossil, Inc. and Fossil Stores I, Inc.                   Yes
                                                                         ~             No    0

         Belk, Inc.                                               Yes     0            No
                                                                                             ~
         The Bon-Ton Stores, Inc.
         and The Bon-Ton Department Stores, Inc.
                                                                  Yes     0            No    )(
         Dillard's, Inc.                                          Yes    0             No
                                                                                             X
         Macy's, Inc. and Macy's Retail, Inc.                     Yes    0             No    )(

                                                                                             ~
         Nordstrom, Inc.                                          Yes    0             No

!Zappos.com, Inc. and Zappos Retail, Inc.                         Yes    0             No


                 Proceed to Question A.2.
    ;'
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         2.       False Designation of Origin

Has Romag proved by a preponderance of the evidence that Defendants falsely
represented that their goods come from the same source, or are affliated with or
sponsored by Romag Fasteners, Inc.?



Fossil, Inc. and Fossil Stores I, Inc.                  Yes
                                                               X              No        0

Belk, Inc.                                              Yes     0             No    )(
The Bon-Ton Stores, Inc.
and The Bon-Ton Department Stores, Inc.
                                                        Yes     D             No
                                                                                    ~
Dillard's, Inc.                                         Yes     D            No
                                                                                    X
Macy's, Inc. and Macy's Retail, Inc.                    Yes     D             No    )(
Nordstrom, Inc.                                         Yes     D            No
                                                                                   ~
Zappos.com, Inc. and Zappos Retail, Inc.                Yes     D            No
                                                                                   ~
        If you  answered "Yes" to Question A.I or Question A.2 with respect to any
Defendant, proceed to Question A.3. If you answered "No" to Question A.I and Question
A.2 with respect to all Defendants, proceed to Section C.



      3.      Has Romag proved by a preponderance of the evidence that Defendants'
trademark infringement was willful?



Fossil, Inc. and Fossil Stores I, Inc.                  Yes    D             No    X
Belk, Inc.                                              Yes    o             No     ~
The Bon-Ton Stores, Inc.                                Yes    o             No     ~
and The Bon-Ton Department Stores, Inc.

Dillard's, Inc.                                         Yes    o             No     X
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        Macy's, Inc. and Macy's Retail, Inc.                     Yes    0              No
                                                                                             )(
        Nordstrom, Inc.                                          Yes    0             No
                                                                                             ~
        Zappos.com, Inc. and Zappos Retail, Inc.


                                          (
                                                                 Yes    0             No
                                                                                             x:
                                      \
        If your answer to Que~tion A.3 is "Yes" with respect to any Defendant, on what date do
        you find that Defendant's willful infringement began?


        Fossil, Inc. and Fossil Stores I, Inc.

        Belk, Inc.

  The Bon-Ton Stores, Inc.
, and The Bon-Ton Department Stores, Inc.
                              \
    Dillard's, Inc.           .I
                                  ,
    Macy's, Inc. and Macy's Retail, Inc.

    Nordstrom, Inc.

    Zappos.com, Inc. and Zappos Retail, Inc.




                Proceed to Section B.


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 B.      TRADEMARK DAMAGES

      1.     What amount of profits do you find that Romag proved by a
preponderance of the evidence that each Defendant made on the sale of the accused
handbags which should be awarded to Plaintiff to prevent unjust enrichment to
Defendants?



Fossil, Inc. and Fossil Stores I, Inc.                $    90      7S9/~~
Belk, Inc.                                            $         0
The Bon-Ton Stores, Inc.
and The Bon-Ton Department Stores, Inc.
                                                      $         0
Dillard's, Inc.                                       $          ()
Macy's, Inc. and Macy's Retail, Inc.                  $          0
Nordstrom, Inc.                                       $          0
Zappos.com, Inc. and Zappos Retail, Inc.              $          Q

         Proceed to Question B.2.



      2.     What amount of profits do you find that Romag proved by a
preponderance of the evidence that each Defendant made on the sale of the accused
handbags which should be awarded to deter future trademark infringement?



Fossil, Inc. and Fossil Stores I, Inc.                $   h[Jdi, Q Lf(,
Belk, Inc.                                           $         0
The Bon-Ton Stores, Inc.                             $         0
and The Bon-Ton Department Stores, Inc.

Dillard's, Inc.                                      $        D
Macy's, Inc. and Macy's Retail, Inc.                 $       0
                                           4
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     Nordstrom, Inc.                                           $ _ _------'""0=---_ _

    Zappos.com, Inc. and Zappos Retail, Inc.                   $_ _....   O::L---__

           Proceed to Question B.3.

:/
            3.      Have Defendants proved by a preponderance of the evidence that any
    portion of the profits earned from the sale of the accused handbags was attributable to
    factors other than the use of the ROMAG mark?

                  Yes                   No             o

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" If your answer to Question B.3 is "Yes," what percentage of Defendants' profits earned
 .from the sale of the accused handbags was attributable to factors other than the use of the
  ROMAGmark?

                  99-%


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 C.      STATE LAW LIABILITY

        1.     Has Romag proved by a preponderance of the evidence that Defendants
 have engaged in unfair competition under Connecticut common law?



Fossil, Inc. and Fossil Stores I, Inc.                  Yes
                                                              'I             No        0

Belk, Inc.                                              Yes    0             No
                                                                                   ~
The Bon-Ton Stores, Inc.
and The Bon-Ton Department Stores, Inc.
                                                        Yes    0             No
                                                                                   ~
Dillard's, Inc.                                         Yes   :to            No
                                                                                   ~
Macy's, Inc. and Macy's Retail, Inc.                    Yes    0             No
                                                                                   ~
Nordstrom, Inc.                                         Yes    0             No
                                                                                   ~
Zappos.com, Inc. and Zappos Retail, Inc.                Yes    0             No    '~

        Proceed to Question C.2.



       2.     Has Romag proved by a preponderance of the evidence that Defendants
have engaged in a violation of the Connecticut Unfair Trade Practices Act ("CUTPA")?



Fossil, Inc. and Fossil Stores I, Inc.                 Yes    )(             No        0

Belk, Inc.                                             Yes     0            No     )(
The Bon-Ton Stores, Inc.
and The Bon-Ton Department Stores, Inc.
                                                       Yes     0            No
                                                                                   1<

                                                                                  "X
Dillard's, Inc.                                        Yes    0             No

Macy's, Inc. and Macy's Retail, Inc.                   Yes    0             No

Nordstrom, Inc.                                        Yes    0             No
                                                                                   ~X
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        Zappos.com, Inc. and Zappos Retail, Inc.                   Yes     D


             If you answered "Yes" to either Question C.l or Question C.2 with respect to any
      ,Defendant, proceed to Section D. If you answered "No" to both questions with respect to all
    ." Defendants, proceed to Section E.

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\ D.         STATE LAW DAMAGES
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             1.    If you find any Defendant liable with respect to Romag's state common
     law unfair competition claim, do you find that Romag is entitled to an award of punitive
     damages against that Defendant with respect to that claim?

     Fossil, Inc. and Fossil Stores I, Inc.                    Yes     o             No

    Belk, Inc.                                                 Yes     o             No

    The Bon-Ton Stores, Inc.                                   Yes     o             No
    and The Bon-Ton Department Stores, Inc.

    Dillard's, Inc.                                            Yes    o              No

    Macy's, Inc. and Macy's Retail, Inc.                       Yes    o              No

    Nordstrom, Inc.                                            Yes    o              No

    Zappos.com, Inc. and Zappos Retail, Inc.                   Yes    o              No


            Proceed to Question D.2.



            2.      If you find any Defendant liable with respect to Romag's CUTPA claim, do
    you find that Romag is entitled to an award of punitive damages against that Defendant
    with respect to that claim?

    Fossil, Inc. and Fossil Stores I, Inc.                    Yes     o
    Belk, Inc.                                                Yes     o
    The Bon-Ton Stores, Inc.                                  Yes     o
    and The Bon-Ton Department Stores, Inc.

    Dillard's, Inc.                                           Yes     o
 Macy's, Inc. and Macy's Retail, Inc.                         Yes     o
 Nordstrom, Inc.                                              Yes     o
                                               8
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      Zappos.com, Inc. and Zappos Retail, Inc.       Yes   o       No     ~
             Proceed to Section E.




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·I    E.       PATENT LIABILITY
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  I
               1.   Has Romag proved by a preponderance of the evidence that Fossil andlor
      Macy's have infringed the asserted claims of the '126 patent?



      Fossil, Inc. and Fossil Stores I, Inc.

               Claim 1                                           Yes
                                                                        X               No        0

               Claim 2                                           Yes    )(             No         0

               Claim 3                                           Yes    }(             No         0


      Macy's, Inc. and Macy's Retail, Inc.

              Claim 1                                            Yes                              0


                                                                       ')("
                                                                                       No

              Claim 2                                            Yes   )(              No         0

              Claim 3                                            Yes                   No         0



               If you answered "Yes" to Question B.l with respect to either Fossil or Macy's,
      proceed to Question B.2. If you answered "No" to Question B.l with respect to both Fossil
      and Macy's, your deliberations are complete. The foreperson should sign and date this
      verdict form.


             2.      Has Romag proved by clear and convincing evidence that Fossil's and
      Macy's patent infringement was willful?



      Fossil, Inc. and Fossil Stores I, Inc.                     Yes    0              No
                                                                                              X
      Macy's, Inc. and Macy's Retail, Inc.                       Yes    0              No     j(
              Proceed to Section F.

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 F.     PATENT DAMAGES

        1.     If you find that Romag has proved that Fossil's and Macy's infringed any
of the asserted claims of the '126 patent, what do you find to be the reasonable royalty
rate that will fairly and reasonably compensate Romag for Defendants' patent
infringemen t?


Fossil, Inc. and Fossil Stores I, Inc.                             $,09           price per unit

Macy's, Inc. and Macy's Retail, Inc.                               fdQ,!          price per unit


Based on that reasonable royalty rate, what amount of patent damages do you award to
Romag?


Fossil, Inc. and Fossil Stores I, Inc.                             $   5~D.~j4
Macy's, Inc. and Macy's Retail, Inc.
                                                                   $   1i;~D, '"
        Your deliberations are complete. The Joreperson shoul          igl1 and date this verdict
form.




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                                                                   ,
                                          "  ,1\ '1'__._ I 1'Sc'a. "         Jo

                                         PRINTED NAME OF FOREPERSON



Dated at New Haven, Connecticut this
at 'i:8f; a.m.~
                                         2.        day of   ~, 2014




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